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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
JEFFREY ALAN SPINDEL and KEVIN            )
McCARTHY, on behalf of themselves and all )
others similarly situated,                )
                                          )
               Plaintiffs,                )
v.                                        )                Civil Action No. 1:22-cv-10599
                                          )
GORTON’S INC.,                            )
                                          )
               Defendant.                 )
__________________________________________)

        DECLARATION OF MARA THEOPHILA IN FURTHER SUPPORT OF
             DEFENDANT GORTON, INC.’S MOTION TO DISMISS

       I, Mara Theophila, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am over the age of 21. I am counsel for Gorton’s, Inc. (“Gorton’s”). I submit

this Declaration in support of Gorton’s Motion to Dismiss the Complaint.

       2.     The Complaint includes a picture of Gorton’s Signature Grilled Tilapia as an

example of a Gorton’s tilapia “[p]roduct packaging with a sustainability claim.” (Compl. ¶ 3.)

       3.     Attached as Exhibit 1 is a true and complete copy of the Gorton’s Grilled Tilapia

– Signature Grilled package cited in the Complaint.

       4.     Attached as Exhibit 2 is a true and complete copy of the webpage titled “We Are

Gorton’s,” available on Gorton’s website at https://www.gortons.com/we-are-gortons/ and last

accessed on June 20, 2022.

       5.     Attached as Exhibit 3 is a true and complete copy of the webpage titled

“Frequently Asked Questions,” available on Gorton’s website at

https://www.gortons.com/frequently-asked-questions/ and last accessed on June 20, 2022.



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        6.     Attached as Exhibit 4 is a true and complete copy of the webpage titled

“Responsibility,” available on Gorton’s website at https://www.gortons.com/sustainability/ and

last accessed on June 20, 2022.

        7.     Attached as Exhibit 5 is a true and complete copy of the October 14, 2013 article

titled “Gorton’s, Aquarium See Partnering Gains,” available on Gorton’s website at

https://www.gortons.com/gortons-aquarium-see-partnering-gains/ and last accessed on June 20,

2022.

        8.     Attached as Exhibit 6 is a true and complete copy of the December 18, 2018

article titled “Gorton’s Seafood and The New England Aquarium Celebrate 10 Years of

Improving and Promoting Sustainable Fisheries,” available on Gorton’s website at

https://www.gortons.com/gortons-seafood-and-the-new-england-aquarium-celebrate-10-years-

of-improving-and-promoting-sustainable-fisheries/ and last accessed on June 20, 2022.

        I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct to the best of my knowledge.


Dated: Boston, Massachusetts
       June 22, 2022


                                                      /s/ Mara Theophila
                                                      Mara Theophila (BBO # 704763)




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